           Case 1:19-cv-00150-DLF Document 59 Filed 05/04/20 Page 1 of 2
Filiberto Agusti
202 429 6428 direct
202 261 7512 fax
fagusti@steptoe.com

1330 Connecticut Avenue, NW
Washington, DC 20036-1795
202 429 3000 main
www.steptoe.com




                                            May 4, 2020

Via ECF

Hon. Dabney L. Friedrich
United States District Court for the
   District of Columbia
333 Constitution Avenue N.W.
Washington D.C. 20001

         Re:      Broidy Capital Management, LLC et al. v. Muzin, et al.,
                  No. 1:19-cv-00150-DLF (D.D.C.)

Dear Judge Friedrich:

        We write on behalf of Plaintiffs Broidy Capital Management, LLC and Elliott Broidy
(“Plaintiffs”) to notify the Court that Defendants failed to Answer the operative Complaint on or
before May 1, 2020, as ordered by the Court in its April 8, 2020 minute order. We write to
inform the Court of the situation and our current intentions.

        On April 27, 2020, Defendants filed a notice of appeal from this Court’s order of March
31, 2020. We understand that Defendants contend that the March 31 order was a “collateral
order” and that their notice of appeal thus divests this Court of jurisdiction. We believe this is
wrong because defendants cannot satisfy the standards of the collateral order doctrine. Indeed,
on May 1, 2020, the D.C. Circuit issued an order requiring Defendants to show cause why their
appeal should not be dismissed for lack of jurisdiction. Because Defendants did not procure a
stay pending appeal from this Court or the Court of Appeals, they are in default. See Fed. R.
Civ. P. 55.

        Nonetheless, in light of the D.C. Circuit’s May 1 order, Plaintiffs are not moving for a
default at this time. Since the D.C. Circuit has, on its own motion, taken up the issue of
jurisdiction, we think judicial efficiency and the critical need for expedition here suggest that the
issue proceed only in that Court. But should circumstances change, Plaintiffs reserve their rights
to seek relief in this Court, which retains jurisdiction notwithstanding Defendants’ defective
notice of appeal.
         Case 1:19-cv-00150-DLF Document 59 Filed 05/04/20 Page 2 of 2

Hon. Dabney L. Friedrich
May 4, 2020
Page 2


                                         Respectfully submitted,

                                         /s/ Filiberto Agusti
                                         Filiberto Agusti (DC Bar No. 270058)

                                         Counsel for Plaintiffs

cc:   Counsel of Record (via ECF)
